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UNITED STATES OF AMERICA
l:l3-CR-OOO63-OOl LJO
Plaintiff,

vS. oRDER To REcoNvEY
cAsH BoND AND TITLE

oScAR RoDRIGUEz, ON VEHI CLE

Defendant.

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On September 29, 2014, the above named defendant, Oscar
Rodriguez, was sentenced before the Honorable Lawrence J. O'Neill.

The Cash Bond (Receipt #CAE100021617) in the amount of $1,000.00,
posted by Arlette Nunez shall be reconveyed forthwith.

The collateral vehicle (VIN# 19XFA16849EO11954) 2009 Honda,
License plate #6PIY233 registered to Sidonia Valdez shall be
reconveyed forthwith.

IT IS SO ORDERED.

Dated= o SZZASX W/€;Q_/
/ HoN BLE RENCE J. o NEILL
IT s T

DISTRICT JUDGE

 

 

